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                                                 January 3, 2023

 VIA ECF

 Hon. Gary R. Brown
 United States District Judge
 United States District Court Eastern District of New York
 100 Federal Plaza, Courtroom 940
 Central Islip, NY 11722

        R:      Maria Suarez v. Southern Glazer’s Wine and Spirits of New York, LLC
                Case No. 2:19-cv-07271-GRB-SIL

 The Honorable Gary R. Brown:

 Pursuant to Rules II(f) and (g) of Your Honor’s Individual Rules of Practice, Defendant Southern
 Glazer’s Wine and Spirits of New York, LLC (“SGWS”) writes the Court to request a pre-motion
 conference on SGWS’ motion for summary judgment.

 In Plaintiff’s Complaint, she asserts that SGWS retaliated against her under the Equal Pay Act,
 Fair Labor Standards Act, New York Labor Law (“NYLL”), Title VII of the Civil Rights Act of
 1964, and New York State Human Rights Law and failed to pay her overtime in violation of the
 NYLL. Plaintiff’s retaliation allegations are based on the following theory: she complained that
 women in the Inventory Control (“IC”) department were denied a warehouse classification because
 they were women and, in retaliation, SGWS terminated her employment.

 Plaintiff’s retaliation claims fail for numerous reasons. First, Plaintiff did not engage in protected
 activity. She did not complain that IC clerks were classified based on their gender. Rather, her
 complaint was based on classification and not on gender discrimination. Plaintiff confirmed the
 nature of her complaint at her deposition in the Sajous lawsuit set forth in more depth in SGWS’
 56.1 Statement. Second, the undisputed record will show there is no causal connection between
 those complaints and her April 2018 termination. There is not a single word, phrase, or sentence
 in the October 2016 deposition transcript that would motivate SGWS to retaliate against her.
 Further, Plaintiff was selected for layoff in large part because of chronic performance issues, which
 she was being held accountable before her October 2016 deposition. See DiCesare v. Town of
 Stonington, 823 F. App’x 19, at *3 (2d Cir. Aug. 14, 2020) (“where timing is the only basis for a
 claim of retaliation, and gradual adverse job actions began well before the plaintiff had ever
 engaged in any protected activity, an inference of retaliation does not arise.”).



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                New Jersey New York North Carolina   South Carolina Tennessee Texas Virginia
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 Plaintiff also asserts she made complaints in 2008 and 2013. The record will show there is still no
 causal nexus between those complaints and the termination. There is a massive time gap between
 those complaints and Plaintiff’s layoff. It defines common sense to believe that SGWS waited 5
 to 10 years to retaliate against her. See Cantres v. N.Y.P. Holdings, Inc., 2016 WL 5867046, at *6
 (E.D.N.Y. 2016) (“There can be no inference of causation where such a large gap in time exists
 between a plaintiff’s protected activity and a defendant’s alleged retaliation.”); Garret v. Garden
 City Hotel, 2007 WL 1174891, at *21 (E.D.N.Y. Apr. 19, 2007) (observing that “district courts in
 this Circuit have consistently held that a passage of more than two months between the protected
 activity and the adverse employment action does not allow for an inference of causation”); Wu v.
 Metro-North Commuter Railroad Commuter Railroad Company, 2016 WL 5793971, at *15
 (S.D.N.Y., 2016) (“four months . . . is too large a gap in time to establish the causal nexus prong.”).

 Third, SGWS had legitimate, non-retaliatory reasons for terminating Plaintiff’s employment.
 SGWS selected her, along with other 25 employees, for termination as part of a statewide reduction
 in force in New York. The selection criteria included job performance, position elimination, ability
 to perform the tasks required of those still employed, and suitability for the positions remaining
 after the reorganization. The record will show Plaintiff had chronic performance issues including
 errors with cycle counting and failure to communicate those errors. She was also obstinate during
 the WMI transition process and numerous training sessions. SGWS found that there were
 overlapping job functions between the WMI Administrator position and the WMI Inventory
 Control Manager position and it decided to eliminate the former position.

 Plaintiff claims from approximately May 2016 until her termination she did not have supervisory
 authority over the IC clerks and SGWS should have classified her as non-exempt, entitling her to
 overtime. Plaintiff’s allegations are contradicted by her own testimony in this matter wherein she
 admitted she supervised the IC clerks. Further, Plaintiff earned $75,000 starting in May 2016; was
 responsible for configuring, operating, overseeing and analyzing the WMI program; exercised
 direction and independent judgment over her responsibilities; influenced personnel and hiring
 decisions for the IC clerks; performed clerical work; and only performed under general supervision
 from Wilkinson. The record will prove SGWS properly classified Suarez as exempt during this time
 period based on the criteria of the executive and administrative exemptions under the NYLL. See
 Torrengegra v. Grammen America Inc., 2017 WL 1401291 (E.D.N.Y. Apr. 19, 2017). Plaintiff
 satisfied these exemptions before May 2016 as well.

 For the foregoing reasons, SGWS’ requests a pre-motion conference regarding SGWS’ anticipated
 summary judgment motion. Thank you for Your Honor’s consideration of SGWS’ pre-motion
 conference request.

                                                        Sincerely,
                                                        /s/ Anjanette Cabrera
                                                        Anjanette Cabrera




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